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                  IN THE UNITED STATES COURT OF APPEALS

                          FOR THE ELEVENTH CIRCUIT

                            _________________________

                                 No. 20-14480-RR
                            _________________________

CORECO JA'QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,
GLORIA KAY GODWIN,
JAMES KENNETH CARROLL,
CAROLYN HALL FISHER,
CATHLEEN ALSTON LATHAM,
BRIAN JAY VAN GUNDY,

                                                               Plaintiffs - Appellants,

                                         versus

GOVERNOR OF THE STATE OF GEORGIA,
in his official capacity,
SECRETARY OF STATE FOR THE STATE OF GEORGIA,
in his official capacity as Secretary of State and
Chair of the Georgia State Election Board,
DAVID J. WORLEY,
in his official capacity as a member of the Georgia
State Election Board,
REBECCA N. SULLIVAN,
in her official capacity as a member of the Georgia
State Election Board,
MATTHEW MASHBURN,
in his official capacity as a member of the Georgia
State Election Board,
ANH LE,
in her official capacity as a member of the Georgia
State Election Board,

                                                               Defendants - Appellees.
                           __________________________

                            On Appeal from the United States
                   District Court for the Northern District of Georgia
                            __________________________
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ORDER:

       Appellants’ “Emergency Motion for Expedited Briefing Schedule and Review” is

GRANTED as follows:

       The Appellants’ initial brief is due by midnight tonight, December 2, 2020, with an

appendix due on December 3, 2020. The Appellees’ response brief is due by midnight on

December 4, 2020. Appellants’ reply brief, if any, is due by midnight on December 6, 2020.

       The Court also issues the attached Jurisdictional Question. The parties’ responses to the

Jurisdictional Question are due December 3, 2020. For the purposes of the briefing schedule, the

postponement provision of 11th Cir. R. 31-1(d) (“Unless otherwise ordered by the court, the due

date for filing appellee’s or appellee-cross-appellant’s brief shall be postponed until the court

determines that the appeal or cross-appeal shall proceed or directs the parties to address the

jurisdictional question(s) in their briefs on the merits.”) is suspended.




                                                                                 DAVID J. SMITH
                                                                 Clerk of the United States Court of
                                                                   Appeals for the Eleventh Circuit

                                                ENTERED FOR THE COURT – BY DIRECTION
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                                          No. 20-14480

                            JURISDICTIONAL QUESTION

     Please address whether, or the extent to which, the district court’s November 29, 2020,
order is immediately appealable. See 28 U.S.C. § 1292(a)(1) (granting the courts of appeals
jurisdiction over interlocutory orders “granting, continuing, modifying, refusing or dissolving
injunctions”); AT&T Broadband v. Tech Commc’ns, Inc., 381 F.3d 1309, 1314 (11th Cir. 2004)
(a temporary restraining order (“TRO”) ruling may be appealable as an interlocutory injunction
order when “three conditions are satisfied: (1) the duration of the relief sought or granted
exceeds that allowed by a TRO ([14] days), (2) the notice and hearing sought or afforded
suggest that the relief sought was a preliminary injunction, and (3) the requested relief seeks
to change the status quo”); see also Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225
(11th Cir. 2005) (“[W]hen a grant or denial of a [TRO] might have a serious, perhaps
irreparable, consequence, and can be effectually challenged only by immediate appeal, we may
exercise appellate jurisdiction.” (quotation marks omitted)); Ingram v. Ault, 50 F.3d 898, 899–
900 (11th Cir. 1995) (“TRO rulings, however, are subject to appeal as interlocutory injunction
orders if the appellant can disprove the general presumption that no irreparable harm exists.”);
McDougald v. Jenson, 786 F.2d 1465, 1473 (11th Cir. 1986) (“[I]t has been suggested that if
the TRO goes beyond simply preserving the opportunity to grant affirmative relief and actually
grants affirmative relief, an appeal may be taken.” (quotation marks omitted)).
